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                        Exhibit J
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Contested Motion Success                                                                                                                                                                                              ANDA Cases
                                                                                                                                                                                                                         ANDA Cases
                                                                                                                                                                                                                         Non-ANDA Cases
 Choose a Motion Category                        This chart shows how the selected courts or judges have decided various types of motions, given that those motions were not stipulated by the parties. The chart
 Stay                                            displays the the number and percentage of motions granted, denied, or partially granted by each of the selected courts or judges.
                                                                                                                                                                                                                      Year of filing date
 Choose a Type of Motion                         Click a bar segment for a court or judge above to show that segment's underlying data.                                                                               2017 to 2020
  Decisions on motion to/for:
                                                                                                                     43                                                     1               15
     Lift Stay / Reopen                                     NDCA                                                   72.88%                                                 1.69%           25.42%
     Stay -- Other                                                                                                                                                                                                        Granted
     Stay Discovery                                                                                                                                                                                                       Partial
     Stay Pending Arbitration/Mediation                                                  3                                                                    7
                                                            WDTX                                                                                                                                                          Denied
     Stay Pending Bankruptcy                                                          30.00%                                                               70.00%
     Stay Pending CBM Review
     Stay Pending Decision by MDL Panel
     Stay Pending Dispositive Motion                                                             274                                      52                                   262
                                                                All                             46.60%                                  8.84%                                 44.56%
     Stay Pending Inter Partes Review
     Stay Pending Interlocutory Appeal/M..
     Stay Pending Investigation by ITC                                0%        10%            20%          30%           40%          50%           60%            70%           80%          90%          100%
     Stay Pending Post-Grant Review
                                                                                                                      PERCENT OF TOTAL NUMBER OF DECISIONS
     Stay Pending Reexamination
     Stay Pending Reissue
     Stay Pending Resolution of Related ..




 This table contains the underlying records for the data in the chart above. To narrow results, click a bar segment for a court or judge above to show that segment's data. To view the document's profile, click a
 record in the the table below.


 Current Selections: Judge/Court: All | Results: All

 Date               Court/Judge                Case                   Type of Document
 Jan. 9, 2017       WDTX                       1-15-cv-00597          Stay Pending Inter Partes Revi.. Denied

 Jan. 17, 2017      WDTX                       1-15-cv-00849          Stay Pending Inter Partes Revi.. Denied

 Mar. 27, 2017      NDCA                       3-16-cv-02595          Stay Pending Inter Partes Revi.. Granted

                                               3-16-cv-03137          Stay Pending Inter Partes Revi.. Granted

 Mar. 28, 2017      NDCA                       4-13-cv-03133          Stay Pending Inter Partes Revi.. Denied

 Apr. 10, 2017      NDCA                       3-16-cv-00791          Stay Pending Inter Partes Revi.. Denied without prejudice

 Apr. 11, 2017      NDCA                       3-14-cv-05068          Stay Pending Inter Partes Revi.. Denied

 May. 5, 2017       NDCA                       4-16-cv-06824          Stay Pending Inter Partes Revi.. Granted

 Jun. 15, 2017      NDCA                       4-16-cv-03590          Stay Pending Inter Partes Revi.. Denied without prejudice

                                               4-16-cv-07005          Stay Pending Inter Partes Revi.. Granted

 Jun. 19, 2017      NDCA                       5-16-cv-03886          Stay Pending Inter Partes Revi.. Granted

 Jun. 27, 2017      NDCA                       5-16-cv-03886          Stay Pending Inter Partes Revi.. Granted

 Jul. 25, 2017      NDCA                       3-17-cv-02176          Stay Pending Inter Partes Revi.. Granted

 Oct. 10, 2017      NDCA                       5-17-cv-01098          Stay Pending Inter Partes Revi.. Denied without prejudice

 Nov. 7, 2017       NDCA                       4-17-cv-03745          Stay Pending Inter Partes Revi.. Granted

 Nov. 8, 2017       NDCA                       3-17-cv-03166          Stay Pending Inter Partes Revi.. Granted

 Nov. 15, 2017      NDCA                       3-17-cv-03980          Stay Pending Inter Partes Revi.. Denied without prejudice

 Jan. 19, 2018      NDCA                       3-17-cv-03801          Stay Pending Inter Partes Revi.. Denied without prejudice

 Jan. 25, 2018      NDCA                       3-17-cv-06701          Stay Pending Inter Partes Revi.. Denied in part granted in part

 Jan. 29, 2018      NDCA                       4-17-cv-05920          Stay Pending Inter Partes Revi.. Granted

 Feb. 7, 2018       NDCA                       5-17-cv-06302          Stay Pending Inter Partes Revi.. Granted

 Feb. 15, 2018      NDCA                       4-16-cv-07005          Stay Pending Inter Partes Revi.. Granted

 Feb. 21, 2018      NDCA                       5-17-cv-04007          Stay Pending Inter Partes Revi.. Granted

 Mar. 26, 2018      NDCA                       3-16-cv-02787          Stay Pending Inter Partes Revi.. Granted

 Apr. 3, 2018       NDCA                       5-16-cv-06925          Stay Pending Inter Partes Revi.. Granted

 Apr. 30, 2018      NDCA                       5-18-cv-00357          Stay Pending Inter Partes Revi.. Granted

 May. 11, 2018      NDCA                       5-18-cv-00821          Stay Pending Inter Partes Revi.. Granted

 May. 25, 2018      NDCA                       4-18-cv-00361          Stay Pending Inter Partes Revi.. Granted

 Jun. 13, 2018      NDCA                       3-16-cv-02787          Stay Pending Inter Partes Revi.. Granted

 Jul. 12, 2018      NDCA                       3-17-cv-07088          Stay Pending Inter Partes Revi.. Granted

 Jul. 23, 2018      NDCA                       4-17-cv-04426          Stay Pending Inter Partes Revi.. Granted

 Jul. 31, 2018      NDCA                       3-18-cv-01662          Stay Pending Inter Partes Revi.. Denied without prejudice

 Aug. 10, 2018      NDCA                       3-17-cv-03801          Stay Pending Inter Partes Revi.. Granted

 Sep. 14, 2018      NDCA                       3-18-cv-02913          Stay Pending Inter Partes Revi.. Granted

                                               4-17-cv-03363          Stay Pending Inter Partes Revi.. Denied without prejudice

                                               4-18-cv-00361          Stay Pending Inter Partes Revi.. Granted

 Sep. 24, 2018      WDTX                       1-17-cv-00030          Stay Pending Inter Partes Revi.. Denied

 Sep. 28, 2018      NDCA                       5-17-cv-07289          Stay Pending Inter Partes Revi.. Granted

 Nov. 15, 2018      WDTX                       1-17-cv-01193          Stay Pending Inter Partes Revi.. Granted

 Dec. 12, 2018      NDCA                       3-17-cv-04738          Stay Pending Inter Partes Revi.. Granted

 Dec. 14, 2018      NDCA                       5-17-cv-06457          Stay Pending Inter Partes Revi.. Granted

 Mar. 12, 2019      NDCA                       5-16-cv-03260          Stay Pending Inter Partes Revi.. Denied

 Mar. 22, 2019      NDCA                       4-18-cv-04969          Stay Pending Inter Partes Revi.. Granted

 Apr. 2, 2019       NDCA                       3-17-cv-07308          Stay Pending Inter Partes Revi.. Denied without prejudice

 Apr. 24, 2019      NDCA                       3-17-cv-07308          Stay Pending Inter Partes Revi.. Denied without prejudice

                                               3-18-cv-02955          Stay Pending Inter Partes Revi.. Granted

 Apr. 29, 2019      NDCA                       4-18-cv-06737          Stay Pending Inter Partes Revi.. Granted

 May. 30, 2019      WDTX                       6-18-cv-00207          Stay Pending Inter Partes Revi.. Denied

 Jun. 17, 2019      NDCA                       4-18-cv-04969          Stay Pending Inter Partes Revi.. Granted

 Jul. 3, 2019       NDCA                       4-18-cv-06452          Stay Pending Inter Partes Revi.. Granted

 Aug. 26, 2019      NDCA                       4-17-cv-05363          Stay Pending Inter Partes Revi.. Granted

 Sep. 12, 2019      NDCA                       3-17-cv-04032          Stay Pending Inter Partes Revi.. Granted

 Nov. 8, 2019       NDCA                       4-19-cv-02269          Stay Pending Inter Partes Revi.. Granted

 Nov. 13, 2019      NDCA                       4-18-cv-01885          Stay Pending Inter Partes Revi..

 Jan. 17, 2020      NDCA                       4-19-cv-01315          Stay Pending Inter Partes Revi..

 Jan. 22, 2020      NDCA                       3-19-cv-01697          Stay Pending Inter Partes Revi..
Jun. 17, 2019   NDCA       4-18-cv-04969   Stay Pending Inter Partes Revi..

Jul. 3, 2019    NDCA       4-18-cv-06452   Stay Pending Inter Partes Revi..

Aug. 26, 2019   NDCA   Case 6:20-cv-00812-ADA Document 50-12 Filed 04/30/21 Page 3 of 3
                           4-17-cv-05363   Stay Pending Inter Partes Revi..

Sep. 12, 2019   NDCA       3-17-cv-04032   Stay Pending Inter Partes Revi..

Nov. 8, 2019    NDCA       4-19-cv-02269   Stay Pending Inter Partes Revi.. Granted

Nov. 13, 2019   NDCA       4-18-cv-01885   Stay Pending Inter Partes Revi.. Granted

Jan. 17, 2020   NDCA       4-19-cv-01315   Stay Pending Inter Partes Revi.. Granted

Jan. 22, 2020   NDCA       3-19-cv-01697   Stay Pending Inter Partes Revi.. Granted

Feb. 6, 2020    NDCA       5-19-cv-04809   Stay Pending Inter Partes Revi.. Granted

Feb. 20, 2020   NDCA       5-18-cv-02352   Stay Pending Inter Partes Revi.. Denied

Jun. 10, 2020   WDTX       1-18-cv-00554   Stay Pending Inter Partes Revi.. Granted

                           1-18-cv-00555   Stay Pending Inter Partes Revi.. Granted

Jun. 15, 2020   NDCA       4-18-cv-05434   Stay Pending Inter Partes Revi.. Denied

Jun. 23, 2020   WDTX       6-19-cv-00514   Stay Pending Inter Partes Revi.. Denied

                           6-19-cv-00515   Stay Pending Inter Partes Revi.. Denied

Jul. 22, 2020   WDTX       7-18-cv-00147   Stay Pending Inter Partes Revi.. Denied

Aug. 27, 2020   NDCA       3-19-cv-05644   Stay Pending Inter Partes Revi.. Granted

Aug. 31, 2020   NDCA       3-19-cv-01206   Stay Pending Inter Partes Revi.. Granted

Sep. 9, 2020    NDCA       3-19-cv-05697   Stay Pending Inter Partes Revi.. Denied without prejudice

Sep. 28, 2020   NDCA       3-19-cv-02471   Stay Pending Inter Partes Revi.. Granted

Nov. 6, 2020    NDCA       3-20-cv-00484   Stay Pending Inter Partes Revi.. Granted
